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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

CONLEY F. MONK, JR. et al.,                         :
    Plaintiffs,                                     :
                                                    :
        v.                                          :           No. 3:22-cv-1503 (SRU)
                                                    :
THE UNITED STATES OF AMERICA,                       :           July 9, 2024
     Defendant.                                     :


     REPLY MEMORANDUM IN FURTHER SUPPORT OF DEFENDANT UNITED
    STATES OF AMERICA’S MOTION FOR CERTIFICATION OF THIS COURT’S
     ORDER DATED MARCH 29, 2024 (ECF 83) PURSUANT TO 28 U.S.C. § 1292(b)

        Plaintiffs’ Opposition (“Opposition”) to the United States’ Motion for Certification

(“Motion”) does not meaningfully address many of the points raised in the Motion. As the

government previously explained, this Court’s March 29, 2024 Order (ECF 83) (“Order”) involves

at least two controlling questions of law on which there are substantial grounds for differences of

opinion, and an interlocutory appeal at this juncture would materially advance the ultimate

termination of the litigation—sparing both the Court and the parties the significant burdens of

litigating this complex case on legal premises that are likely to be reversed on appeal. Plaintiffs

nowhere acknowledge that 28 U.S.C. § 1292(b) is designed to facilitate an early and definitive

resolution of precisely the sort of threshold legal issues presented here. Instead, they insist that this

Court should exercise its discretion not to certify its Order for interlocutory review under section

1292(b) for three primary reasons: (1) the Order presents questions of fact rather than controlling

questions of law; (2) there is no substantial ground for difference of opinion on these issues in the

Second Circuit; and (3) the resolution of these issues will not materially advance the termination

of this litigation. Because none of these arguments has merit, and the criteria for certification under

section 1292(b) are plainly satisfied, this Court should certify its Order for immediate appeal.
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                                           ARGUMENT

   I.        The Order Involves Controlling Questions of Law.

         Whether Plaintiffs’ claims against the United States are precluded by the Veterans’ Judicial

Review Act (“VJRA”), 38 U.S.C. § 511(a), and whether there is a private analog for those claims

in state tort law sufficient to proceed under the Federal Tort Claims Act (“FTCA”) are controlling

questions of law. Notably, Plaintiffs do not dispute that “a question of law is controlling if reversal

of the district court’s order would terminate the action.” Klinghoffer v. S.N.C. Achille Lauro Ed

Altri-Gestione Motonave Achille Lauro in Amministrazione Straordinaria, 921 F.2d 21, 23 (2d

Cir. 1990) (internal citations omitted). Nor do they dispute that reversal on either issue presented

here would result in termination of the action. See Dkt. 98 at 10-12. Instead, Plaintiffs claim that

the Order presents mixed questions of law and fact, rather than pure issues of law. That is incorrect.

         The Order is a decision on a motion to dismiss pursuant to Rule 12(b)(1). The Court made

no factual determinations in denying the United States’ Motion to Dismiss and concluding that it

had subject matter jurisdiction to hear Plaintiffs’ claims. As the Court explained, “[i]n resolving a

motion to dismiss under Rule 12(b)(1), the district court must take all uncontroverted facts in the

complaint (or petition) as true, and draw all reasonable inferences in favor of the party asserting

jurisdiction.” Dkt. 83 at 1-2 (internal quotations omitted). The United States did not advance

factual arguments in its Motion to Dismiss, but instead argued that “subject matter jurisdiction is

clearly lacking based on the complaint alone” and accepted the well-pleaded allegations in the

Complaint as true.1 See Dkt. 23-1 at 17. In such circumstances, it is well-established that the

question “[w]hether a suit falls within federal subject matter jurisdiction is a question of law.”



         1
         The Motion to Dismiss, a facial attack on the pleadings, referenced filings from other
matters of which the Court could take judicial notice. None of those materials were cited by the
Court in its Order.
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D'Amico Dry Ltd. v. Primera Mar. (Hellas) Ltd., 756 F.3d 151, 155 n.2 (2d Cir. 2014); see also

Landau v. Eisenberg, 922 F.3d 495, 497 (2d Cir. 2019).

       Plaintiffs contend that the United States has not identified controlling questions of law. See

Dkt. 98 at 10-11. However, in denying the government’s Motion to Dismiss, this Court assessed

the allegations in the Amended Complaint and made a legal determination about whether they fell

within the scope of the jurisdictional bar in section 511 and whether there were any private party

analogs for Plaintiffs’ claims sufficient to confer jurisdiction under the FTCA. The Court did not

make any factual findings. Indeed, as Plaintiffs appear to acknowledge, no factual record was

before the Court. See Dkt. 98 at 12 (“Defendant seeks certification from an order on a motion to

dismiss, before the development of any factual record necessary to adjudicating the merits”). Thus,

Plaintiffs’ reliance on cases denying interlocutory appeal of factual issues is misplaced.

       For example, in Harriscom Svenska AB v. Harris Corp., 947 F.2d 627 (2d Cir. 1991), the

district court certified an order granting summary judgment to defendant as to certain contract

claims. Id. at 629. Plaintiff sought appeal of “genuine issues of fact” as to whether defendant acted

in good faith with respect to the contract and whether its failure to fulfill contractual orders was

voluntary or rendered impossible by others’ actions. Id. The Second Circuit held that the appeal

could not proceed under section 1292(b) for numerous reasons, including that “the controlling

issues are questions of fact.” Id. at 631. Similarly, in In re Salvatore, No. 18-cv-1429 (SRU), 2019

WL 1284815 (D. Conn. Mar. 20, 2019), this Court heard a request for certification of a bankruptcy

court’s denial of a summary judgment motion in an adversarial proceeding. The bankruptcy court

held there was a genuine issue of material fact as to whether notice of the bankruptcy filing was

provided to the adverse party. The applicant disagreed with the bankruptcy court’s findings with

respect to the adverse party’s factual claims and sought appeal. Id. at *2. In denying the motion,



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this Court noted that the applicant was really “quarrelling with the state of the factual record below,

and not with any question of law in contesting the propriety of the denial of summary judgment.”

Id. (internal quotations omitted); see also United States v. Prevezon Holdings Ltd., No. 13-cv-

06326, 2016 WL 187936, at *2 (S.D.N.Y. Jan. 15, 2016) (denying a request to certify question of

whether a court correctly applied a “substantial relationship” test to the facts of an attorney

disqualification issue, which itself rests on a “highly fact-specific inquiry”) (internal quotations

omitted); Adar Bays LLC v. Aim Expl., Inc., 310 F.Supp.3d 454, 456 (S.D.N.Y. 2018) (denying

certification where issue of whether reservation of shares of stock rendered a note criminally

usurious was mixed question of law and fact “that requires review of evidence in the factual

record”).2

       In contrast, here the United States seeks review of two controlling issues of subject matter

jurisdiction, the types of questions that have long provided a basis for interlocutory appeal in this

Circuit. See, e.g., Montefiore Med. Ctr. v. Teamsters Local 272, No. 09-cv-3096, 2009 WL

3787209, at *6 (S.D.N.Y. Nov. 12, 2009), aff’d, 642 F.3d 321 (2d Cir. 2011); Klinghoffer, 921

F.2d at 23. On appeal, the Second Circuit would not need to review evidence in a factual record in

order to consider the issues presented. Compare with Salvatore, 2019 WL 1284815, at *2; Adar

Bays, 310 F. Supp. 3d at 456. Because both the preclusive scope of section 511 and the private

analog issue concern this Court’s subject matter jurisdiction and are inherently legal in nature,




       2
          Plaintiffs also cite Republic of Colombia v. Diageo N. Am. Inc., 619 F. Supp. 2d 7, 13
(E.D.N.Y. 2007), for the proposition that “the benefit of further factual development and a
complete record on appeal” cuts against certification. See Dkt. 98 at 11. However, the court in that
case actually granted certification, holding that other factors outweighed any such benefit. It
stressed that “Plaintiffs’ claims may fail on a number of different grounds and the costs of
discovery will be significant,” and concluded that “the Court of Appeals should have the
opportunity to determine whether it wishes to consider” the issues addressed in the order at that
time. Id. at 13.
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there can be little doubt that the United States has identified controlling questions of law

appropriate for certification under section 1292(b).

   II.      There is Substantial Ground for Difference of Opinion.

         The United States also established in its Motion that there are substantial grounds for

difference of opinion with respect to both issues it seeks to appeal. In response, Plaintiffs contend

that it makes no difference whether this Court’s Order conflicts with decisions by courts of appeals

outside the Second Circuit because, in Plaintiffs’ view, grounds for a difference of opinion may

only exist where the challenged district court decision conflicts with other decisions from within

the Second Circuit. Dkt. 98 at 3, 5. That view is wrong for several reasons: (1) it is at odds with

this Court’s own decisions; (2) it is premised on a misinterpretation of the relevant standard; and

(3) even if the only grounds for difference of opinion that mattered were within the Second Circuit,

the United States has identified intra-circuit differences on both questions presented.

         First, Plaintiffs’ view that only differences of opinion within the Second Circuit can

provide a basis for certification under section 1292(b) conflicts with prior decisions by this Court.

As this Court has previously recognized, a “substantial ground for difference of opinion exists

where (1) there is conflicting authority on the issue, or (2) the issue is particularly difficult and of

first impression for the Second Circuit.” In re Teva Securities Litigation, No. 3:17-cv-558 (SRU),

2021 WL 1197805, at * 7 (D. Conn. Mar. 30, 2021) (emphasis added) (citing Whyte v. Wework

Cos., Inc., No. 20-cv-1800, 2020 WL 4383506, at *2 (S.D.N.Y. July 31, 2020)); see also In re

Kwok, No. 3:22-cv-1581 (KAD), 2023 WL 157784, at *2 (D. Conn. Jan. 11, 2023); United States

ex. rel. Quartararo v. Cath. Health Sys. of Long Island, Inc., 521 F.Supp.3d 265, 277-78 (E.D.N.Y.

2021) (granting certification where the issue presented was “a novel issue in the Second Circuit”);

Tantaros v. Fox News Network, LLC, 465 F. Supp. 3d 385 (S.D.N.Y. 2020) (finding that this factor

was met where only one case had interpreted a challenged statutory provision); Capital Records,
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LLC v. Vimeo, LLC, 972 F. Supp. 2d 537, 551-52 (S.D.N.Y. 2013) (granting certification where

there was an issue of first impression to the Second Circuit). This standard is disjunctive, and it

allows a court to certify an order where there is either “conflicting authority” or a difficult issue

of first impression. See id. Indeed, this Court has certified cases involving issues of first impression

to the Second Circuit, stating that “an opinion from the Second Circuit could be useful both in

[that] case and elsewhere.” See, e.g., In re Aggrenox Antitrust Litigation, No. 3:14-md-2516

(SRU), 2015 WL 4459607, at *11 (D. Conn. July 21, 2015).

       Second, Plaintiffs’ argument is premised entirely on a single sentence from one case from

the Eastern District of New York, Ryan, Beck & Co., LLC v. Fakih, 275 F. Supp. 2d, 393, 398

(E.D.N.Y. 2003). Ryan Beck states that “disagreement among courts outside the Second Circuit

does not establish a substantial ground for difference of opinion.” Id.; see also Dkt. 98 at 5. That

single sentence is not properly read as deviating from a well-established standard for showing a

substantial ground for difference of opinion. In any event, Ryan Beck is distinguishable from this

case. In Ryan Beck, the plaintiff sought interlocutory appeal on an issue that was “clearly settled

law within the Second Circuit.” Id. at 397. Because the district court had ruled consistently with

the Second Circuit’s “settled law,” the plaintiff cited solely to differences of opinion in out-of-

circuit cases in support of its motion. Id. at 397-98. Given that the Second Circuit had spoken

directly on the issue, and that the plaintiff had not identified any other cases from within the Circuit

that contradicted the district court’s ruling, the court concluded that plaintiff’s “reliance on

decisions from outside this circuit [was] misplaced.” Id.

       By contrast, this Court has expressly recognized that “the Second Circuit has not directly

addressed section 511’s scope.” Dkt. 83 at 8. Given the absence of Second Circuit precedent on

this issue, the United States cited to multiple decisions from other circuits that consistently held



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that section 511 bars not only challenges to the ultimate decisions related to veterans’ benefits, but

also claims that purport to challenge systemic issues in the administration of benefits. See Dkt. 93

at 10-16 (citing cases). Because the Second Circuit has not yet had occasion to address this issue,

the conflict between this Court’s ruling and the decisions of courts of appeals outside the Second

Circuit provides an appropriate basis for interlocutory appeal. See Aggrenox, 2015 WL 4459607,

at *11 (certifying order where there was a question of how Second Circuit would address an issue).

In any event, the United States also identified multiple district court decisions within this Circuit

that conflict with this Court’s Order. See Dkt. 23-1 at 20-21.

       Finally, with respect to the United States’ argument under the FTCA that no private party

analog exists, Plaintiffs cannot meaningfully argue that the United States failed to cite conflicting

precedent from decisions within this Circuit. The United States cited multiple decisions, in both

its Motion to Dismiss and the instant Motion, holding that “quasi-adjudicative” claims like

Plaintiffs’ are barred from proceeding under the FTCA. See Dkt. 96 at 16-17; Dkt. 23-1 at 27-28;

see also, e.g., McGowan v. United States, 825 F.3d 118, 125 (2d Cir. 2016). In their Opposition,

Plaintiffs argue that these cases “involve very different legal challenges and factual situations.”

Dkt. 98 at 8. However, Plaintiffs’ Opposition ignores the fact that at least one district court in the

Second Circuit has held that decisions by the Department of Veterans Affairs (“VA”) regarding

the grant or denial of veterans’ benefits lack a private analog. See Peruta v. United States, No.

3:16-cv-2112 (VLB), 2018 WL 995111 (D. Conn. Feb. 21, 2018). That alone is sufficient grounds

to establish a difference of opinion.

       At bottom, the extent of section 511(a)’s application is a “difficult” issue of first impression

in the Second Circuit, and the Court’s decision on whether a private party analog exists under the

FTCA is in direct conflict with other decisions from the Second Circuit and district courts therein,



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see, e.g., McGowan, 825 F.3d at 125; Peruta, 2018 WL 995111. Accordingly, there is a substantial

ground for a difference of opinion with respect to both issues.

   III.      Immediate Appeal Will Materially Advance the Ultimate Termination of this
             Litigation.

          In its Motion, the government showed that certification of these two threshold jurisdictional

issues for immediate appeal would materially advance the ultimate termination of this matter.

Plaintiffs fail to establish otherwise. Courts in this Circuit take into consideration whether a ruling

in the appealing party’s favor on interlocutory appeal would eliminate or significantly reduce costs

of discovery and/or avoid protracted litigation. See Quartararo, 521 F.Supp. 3d at 279; Republic

of Colombia, 619 F. Supp. 2d at 13; Hymes v. Bank of Am., N.A., No. 18-cv-2352, 2020 WL

9174972, at *6 (E.D.N.Y. Sept. 29, 2020). That consideration weighs strongly in favor of

interlocutory appeal here, where the case is still at an early phase, and discovery is currently on a

twelve-month schedule (to May 2025). As Plaintiffs acknowledge, they seek information and

testimony spanning a period of approximately eighty years, stretching from the 1940s to the

present. Plaintiffs have also repeatedly suggested that they intend to seek testimony from multiple

high-ranking officials currently within the VA, including the current VA Secretary, Denis R.

McDonough, as well as former VA Secretaries. See Dkt. 98 at 14. Such discovery will impose

significant burdens on the Court, the parties, and potentially numerous non-party individuals.

          Plaintiffs’ claim that an appeal may not be necessary because Defendant may succeed at

summary judgment or trial, Dkt. 98 at 15, does not account for the significant burden imposed by

the expansive discovery envisioned by Plaintiffs, let alone by potentially prolonged litigation over

the propriety of class certification, extensive summary judgment briefing, or preparations for a

possible trial. If the United States were to prevail on either threshold legal issue on interlocutory

appeal, such burdens on the parties and this Court would be avoided. Finally, the argument that


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the Second Circuit “will surely benefit from a fully developed record” ignores the fact that the

questions the United States seeks to appeal are threshold question of controlling law that the Court

of Appeals may properly address now. Dkt. 98 at 15.

       As the United States explained in its Motion, the two threshold jurisdictional issues

presented here involve legal questions that are “of special consequence.” See Balintuno v. Daimler

AG, 727 F.3d at 186 (2d Cir. 2013); Dkt. 96 at 18. Plaintiffs state that there is immense “public

interest” in developing a “full factual record before an appeal.” Dkt. 98 at 15. But the desire of one

party to develop a factual record through extensive and burdensome discovery does not outweigh

the compelling reasons that the Court should certify controlling questions of law where immediate

appeal would materially advance, and potentially terminate, the litigation. The VA is committed

to identifying and eliminating racial disparities in benefits decisions. Notwithstanding the

importance of that goal, the public interest is best served by sparing both the Court and the parties

the significant burdens of litigating this complex case on legal premises that are likely to be

reversed on appeal. By certifying its Order for appeal under section 1292(b), this Court can

facilitate a definitive resolution of the threshold legal issues presented in this case and avoid

unnecessary and burdensome proceedings that threaten to divert scarce agency resources from the

important task of promptly and fairly awarding benefits to all veterans.

                                          CONCLUSION


       For the foregoing reasons, and as stated in its Motion and Memorandum in Support (Dkt.

96, 96-1), the United States respectfully requests that this Court certify its Order dated March 29,

2024 (ECF 83) for interlocutory appeal pursuant to 28 U.S.C. § 1292(b).




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                                     Respectfully submitted,

                                     BRIAN M. BOYNTON
                                     Principal Deputy Assistant Attorney General

                                     VANESSA ROBERTS AVERY
                                     United States Attorney

                                     JAMES G. TOUHEY, JR.
                                     Director, Torts Branch

                                     CHRISTOPHER R. BENSON
                                     Assistant Director, Torts Branch


                                     /s/ Emily M. Kelley
                                     Emily M. Kelley (phv207548)
                                     Irina Majumdar (phv207971)
                                     Trial Attorneys
                                     United States Department of Justice
                                     Civil Division, Torts Branch
                                     Benjamin Franklin Station, P.O. Box 888
                                     Washington, DC 20044
                                     Telephone: (202) 616-4400
                                     Email: Emily.m.kelley@usdoj.gov
                                            Irina.m.majumdar@usdoj.gov

                                     Michelle L. McConaghy (ct27157)
                                     Jillian Rose Orticelli (ct28591)
                                     Assistant United States Attorneys
                                     450 Main Street, Rm. 328
                                     Hartford, CT 06103
                                     Telephone: (860) 947-1101
                                     Fax: (860) 760-7979
                                     Email: Michelle.McConaghy@usdoj.gov
                                             Jillian.Orticelli@usdoj.gov


                                     ATTORNEYS FOR DEFENDANT
                                     UNITED STATES OF AMERICA




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